                      Case 1:21-cr-00177-CRC Document 1 Filed 02/09/21 Page 1 of 1
AO 91 (Rev. 11/11) Criminal Complaint


                                    UNITED STATES DISTRICT COURT
                                                                 for the
                                                          District of &ROXPELD

                        United States of America                    )
                                   v.                               )
                                                                    )      Case No.
                    DANIEL DEAN EGTVEDT                             )
                      DOB: XX/XX/XXXX                               )
                                                                    )
                                                                    )
                          Defendant(s)


                                                  CRIMINAL COMPLAINT
         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                     January 6, 2021             in the county of                              in the
                         LQWKH'LVWULFWRI      &ROXPELD , the defendant(s) violated:
             Code Section                                                     Offense Description
         18 U.S.C. § 111(a)(1) - assault on federal officer or person assisting federal officer,
        18 U.S.C. § 231(a)(3) - Obstruction of Law Enforcement During Civil Disorder,
        18 U.S.C. § 1512(c)(2) - Obstruction of Justice/Congress,
        18 U.S.C. § 1752(a)(1), (2) & (4) - unlawful entry, disorderly conduct, and physical violence
        into/in/on restricted building or grounds,
        40 U.S.C. § 5104(e)(2)(D) & (F) - Disorderly conduct and physical violence on Capitol Grounds.
         This criminal complaint is based on these facts:
  6HHDWWDFKHGVWDWHPHQWRIIDFWV




         9
         u   Continued on the attached sheet.


                                                                                              Complainant’s signature

                                                                                   Joshua Smith-Shimer, Special Agent
                                                                                              Printed name and title

$WWHVWHGWRE\WKHDSSOLFDQWLQDFFRUGDQFHZLWKWKHUHTXLUHPHQWVRI)HG5&ULP3
E\WHOHSKRQH                                                                                              2021.02.09
Date:
             2/9/2021                                                                                      20:52:36 -05'00'
                                                                                                 Judge’s signature

                                        :DVKLQJWRQ'&                       Zia M. Faruqui, U.S. Magistrate Judge
City and state:                                                                    _                                 _
                                                                                              Printed name and title
